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  8
                           UNITED STATES DISTRICT COURT
  9
                         CENTRAL DISTRICT OF CALIFORNIA
 10

 11
       TRILLER FIGHT CLUB II LLC, a             Case No.: 2:21-cv-03942-JAK-KS
 12    Delaware limited liability company,
 13                       Plaintiff,            TED ENTERTAINMENT, INC’S
                                                COUNTERCOMPLAINT AGAINST
 14                                             TRILLER FIGHT CLUB II, LLC
             v.
 15                                             JURY TRIAL DEMANDED
       TED ENTERTAINMENT, INC., a
 16    California corporation; TEDDY
       FRESH, INC., a California                Assigned to: Hon. John A. Kronstadt
 17    corporation; ETHAN KLEIN, an
       individual; HILA KLEIN, an
 18    individual; and DOES 1-10
 19                      Defendants.
 20

 21

 22
       TED ENTERTAINMENT, INC, a
       California corporation,
 23                      Countercomplainant,
 24
             v.
 25

 26
       TRILLER FIGHT CLUB II, LLC, a
       Delaware limited liability company
 27

 28
                          Counter-defendant.


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  1                                   COUNTERCLAIM
  2          Pursuant to Federal Rule of Civil Procedure Rule 13(b), countercomplainant
  3 Ted Entertainment, Inc. (“TEI”) brings the following countercomplaint against

  4 counter-defendant Triller Fight Club II, LLC (“Triller”) and alleges as follows:

  5                                   INTRODUCTION
  6        1.      Triller engaged in a false advertising campaign in violation of 15
  7 U.S.C. Section 1125(a). Triller made these statements to advertise and promote its

  8 so-called “amnesty program” for individuals who viewed Jake Paul vs. Ben Askren

  9 (the “Broadcast”) without authorization. In the course of advertising and promoting
 10 its so-called “amnesty program” Triller made false and misleading statements that

 11 TEI’s podcast episode entitled Jake Paul Fight Was A Disaster – H3 Podcast # 244

 12 (the “Podcast”) infringed the Broadcast and that anyone who viewed the Podcast

 13 engaged in copyright infringement. Even worse, Triller made false and misleading

 14 statements about the financial ramifications of watching the Podcast to persuade the

 15 public to pay Triller $49.99 each to participate in Triller’s so-called amnesty

 16 program. This counterclaim is directed at exposing Triller’s false and misleading

 17 statements and force it to account for its deception.

 18      BACKGROUND OF H3H3PRODUCTIONS AND THE H3 PODCAST
 19        2.      TEI is the owner of various YouTube channels. Its first YouTube
 20 channel was h3h3Productions (the “h3h3 Channel”). The h3h3 Channel featured

 21 short form, highly edited videos of Ethan and Hila Klein criticizing bad actors in the

 22 online community and their content.

 23        3.      For many in the YouTube community, the content on h3h3 Channel
 24 epitomized how online content creators should make a fair use of third-party content.

 25 This was put to the test when Ethan and Hila Klein were sued for copyright

 26 infringement, misrepresentation under 17 U.S.C. Section 512(f) and defamation for

 27 videos posted on the h3h3 Channel and another channel owned by TEI called Ethan

 28 and Hila (the “Ethan and Hila Channel”). Ultimately, Ethan and Hila Klein

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  1 prevailed. See Hosseinzadeh v. Klein, 276 F.Supp.3d 34 (S.D.N.Y. 2017). Notably,

  2 the court found that video on the Ethan and Hila Channel provided “quintessential

  3 criticism and comment[ary].” Id. at 45.

  4         4.     In 2017, TEI established a new YouTube channel entitled the H3
  5 Podcast (the “H3 Podcast Channel”). The H3 Podcast Channel contained content

  6 similar to content on the h3h3 Channel and Ethan and Hila Channel – namely

  7 critique of bad actors in the online community and their content. Unlike the content

  8 on the h3h3 Channel and Ethan and Hila Channel, content on the H3 Podcast

  9 Channel comprised of long form unedited discussions between Ethan and Hila Klein
 10 and would include discussions on various online trends or interviews online content

 11 creators.

 12                 TEI’S HISTORY OF CRITQUEING JAKE PAUL
 13         5.     Jake Paul is a highly controversial and polarizing social media
 14 influencer. Jake Paul – by his own admission – creates content for children ages 8

 15 through 16.1 Jake Paul is infamous for engaging in highly aggressive, manipulative

 16 and avaricious marketing practices to his child audience to induce them to purchase

 17 his merchandise – including teaching his child audience how to manipulate their

 18 parents into making such purchases. Jake Paul is also infamous for exemplifying bad

 19 and unruly behavior to his child audience. Jake Paul’s behavior was so outlandish
 20 that Disney fired him from the children’s television show Bizaardvark.2

 21         6.     Jake Paul became a pariah in the online commentary community. Not
 22 only were online commentators concerned about the extremely adverse impact Jake

 23 Paul had on children, the online commentary community was also concerned about
      1
 24     See Catherine Thorbecke, ABC News, “Self-described ‘imperfect role model’ Jake
      Paul opens up about his YouTube super-stardom” (March 20, 2018), available at:
 25   https://abcnews.go.com/GMA/Culture/imperfect-role-model-jake-paul-opens-
      youtube-super/story?id=53856269.
 26   2
        See Seth Abramovitch, The Hollywood Reporter, “YouTube Star Jake Paul on
 27   Getting Fired by Disney, Feuding With Neighbors: “I Feel Like a Zoo Animal”
      (August 24, 2017) available at: https://www.hollywoodreporter.com/news/general-
 28   news/jake-paul-youtube-sensation-getting-fired-by-disney-1031550/.

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  1 the impact Jake Paul would have on various online platforms, including YouTube.

  2 This was exacerbated when Jake Paul’s equally problematic brother, Logan Paul,

  3 created a video for his child audience that display the body of an individual who

  4 committed suicide in a Japanese forest.

  5        7.      Some of the most prominent and well received criticism of Jake Paul
  6 was created by TEI – first on the h3h3 Channel and later on the H3 Podcast Channel.

  7 TEI made several videos on both channels criticizing Jake Paul’s content, behavior,

  8 avarice and impact on children.

  9                a. Examples of TEI content from the h3h3 Channel critiquing Jake
 10                   Paul include:
 11                      i. Sit Down Jake Paul (It’s Every Day Bro) (June 3, 2017)
 12                         available at:
 13                         https://youtu.be/ybCeaYsrM6s?si=_B9rtx8Twj1vrRl2;
 14                      ii. The Viner Invasion of 2017 (July 3, 2017) available at:
 15                         https://youtu.be/Mdi-ZdCRfBs?si=C2CuHPqYBGfYtRyd;
 16                     iii. Jake Paul Ruins Los Angeles (July 19, 2017) available at:
 17                         https://youtu.be/8D3uG0u2__o?si=cbbXIPOHcAJtPW7Q;
 18                     iv. Jake Paul Doxes Post Malone (July 22, 2017) available at:
 19                         https://youtu.be/RcRsHhsuhHw?si=UgIKchIt2fleNFnf;
 20                      v. Jake Paul Corrects Our Grammer (August 1, 2017)
 21                         available at:
 22                         https://youtu.be/aGAxKpNWIA0?si=IBZSdr5fojbK41qo;
 23                     vi. The Logan Paul Odyssey (Jan. 16, 2018) available at:
 24                         https://youtu.be/N3Dlpky9ey8?si=GwhrxIXE44GM6jqD;
 25                    vii. Jake Paul & RiceGum Promote Gambling To Kids (Jan. 2,
 26                         2019) available at:
 27                         https://youtu.be/3ewyEF3Wd9M?si=VQrPgBjUTQdKzOTv.
 28                b. Examples of TEI content from the H3 Podcast Channel critiquing

                                             3
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  1                   Jake Paul include:
  2                       i. H3 Podcast #22 – Jake Paul & KTLA Reporter Chris Wolfe
  3                          (August 19, 2017) available at:
  4                          https://youtu.be/q_faWNnWhcw?si=wzLyYqQIMqCwSJ3H;
  5                      ii. H3 Podcast #45 – Jake & Logan Paul’s Predatory Merch
  6                          Machine (December 30, 2017) available at:
  7                          https://youtu.be/hOLCEvGO-SU?si=dKMlI-zSHbfsfhLO;
  8                     iii. Logan Paul Rips Off Shane Dawson & New Jake Paul Song
  9                          Is Awful – H3 Podcast #108 (March 15, 2019) available at:
 10                          https://www.youtube.com/watch?v=qejmBpzCXOE;
 11                     iv. Jake Paul’s New Scam – H3 Podcast #176 (February 19,
 12                          2020) available at:
 13                          https://youtu.be/X9bdbCGiSJ8?si=MKRvXERo-rgu-GgY;
 14                      v. Jake Paul Arrested For Looting & The Karen Invasion – H3
 15                          Podcast #193 (June 13, 2020) available at:
 16                          https://youtu.be/MJVM5bWcbgk?si=m1GHquU6qFBZoEai;
 17          8.    Beginning in 2018, Jake Paul began to transition from creating online
 18 content to becoming an amateur (and subsequently professional) boxer. Initially,

 19 Jake Paul fought online content creators. On August 25, 2018, Jake Paul fought the
 20 online content creator Deji Olatunji p/k/a ComedyShortsGamer – who Jake Paul

 21 defeated in the fifth round. On January 30, 2020, Jake Paul fought another online

 22 content creator Ali Eson Gib p/k/a AnEsonGib – who Jake Paul defeated in the first

 23 round.

 24          9.    After his first two fights, Jake Paul began to box retired professional
 25 athletes. On November 28, 2020, Jake Paul boxed the retired professional basketball

 26 player, Nate Robinson, who was 13 years older than Jake Paul. Jake Paul defeated

 27 Nate Robinson in the second round.

 28          10.   Like his online content career, Jake Paul’s boxing career drew heavy

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  1 criticism. TEI produced episodes on the H3 Podcast Channel that criticized Jake

  2 Paul’s boxing matches as being horribly lopsided in favor of Jake Paul because he

  3 was either significantly larger or younger than his opponents. These episodes

  4 produced by TEI also criticized Jake Paul’s boxing matches as cash grabs intended to

  5 bait the audience to pay steep pay-per-view prices in the hope of seeing Jake Paul

  6 defeated.

  7                           JAKE PAUL VS. BEN ASKREN
  8        11.     In 2021, it was announced that Jake Paul’s next opponent would be
  9 Ben Askren. Ben Askren was a former Olympic wrestler and, in 2009, began his
 10 career as a professional MMA fighter. On November 18, 2019 (i.e., ten years later),

 11 Ben Askren retired as a professional MMA fighter. Nearly one year later, Ben

 12 Askren underwent hip surgery. Like Nate Robinson, Ben Askren was 13 years older

 13 than Jake Paul.

 14        12.      Triller was the promoter and organizer for the boxing match between
 15 Jake Paul and Ben Askren. Tickets to view the boxing match were sold for $49.99 on

 16 the Triller app – a social media application that bears an uncanny resemblance to (yet

 17 is far less successful than) the social media application, TikTok.

 18        13.     On April 17, 2021, Triller streamed the Broadcast through the
 19 streaming platform Fite TV. The Broadcast was 3:57:04 hours long and comprised of
 20 only six boxing matches (including Jake Paul vs. Ben Askren). Instead of focusing

 21 on boxing, the Broadcast was far more entertainment-oriented with musical

 22 performances by The Black Keys, Diplo, Doja Cat, Justin Bieber, Major Lazer,

 23 Saweetie, Snoop Dogg, Ice Cube, Too $hort and E-40 and was hosted by the former

 24 Saturday Night Live comedian, Pete Davidson.

 25        14.     Jake Paul’s boxing match with Ben Askren was – to put it delicately –
 26 underwhelming. Ben Askren was visibly out of shape and, due to being significantly

 27 older than Jake Paul and only recently recovered from hip surgery, Jake Paul

 28 defeated Ben Askren in the first round.

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  1        15.     The Broadcast became a lightning rod of criticism both before and
  2 after it was shown to the public. Prior to the Broadcast, both sports and online

  3 commentators ridiculed the matchup between Jake Paul and Ben Askren as, once

  4 again, a cash grab and lopsided to artificially portray Jake Paul as a talented boxer.

  5 Many did not want to support the Broadcast or Jake Paul by paying the $49.99 pay-

  6 per-view fee. The Broadcast merely validated the criticism of sports and online

  7 commentators as being a farce that degraded the sport of boxing by introducing live

  8 music performances and comedy into the sport.

  9        16.     Jake Paul claimed that the Broadcast received 1,500,000 pay-per-view
 10 buys and $75,000,000 in revenue.3 However, whether because individuals refused to

 11 financially support Jake Paul or because the price point was prohibitively expensive

 12 for his target audience, Triller claimed that nearly 2,000,000 individuals watched the

 13 Broadcast via unauthorized streams. See Exhibit A.

 14                      TEI’S CRITIQUE OF THE BROADCAST
 15        17.     Prior to the Broadcast, TEI decided to review the Broadcast on the H3
 16 Podcast Channel. To conduct this critique, TEI employees would have to watch the

 17 Broadcast. TEI, however, did not want to provide any financial support for Jake Paul

 18 (or for any other endeavor involving Jake Paul). Consequently, on April 17, 2021

 19 (i.e., the day of the Broadcast), TEI employees watched an unauthorized stream of
 20 the Broadcast on the Internet. TEI did not make a simultaneous copy of the

 21 Broadcast when it was viewed on April 17, 2021. TEI did pay the $49.99 viewing

 22 fee for the Broadcast at a later date.

 23        18.     After viewing the Broadcast, TEI began formulating its critique of the
 24 Broadcast. One aspect TEI decided to critique was the boxing match between Jake

 25 Paul and Ben Askren. TEI further decided that, to properly illustrate the critique of

 26 the boxing match, brief excerpts of the boxing match from the Broadcast was
      3
 27  Jake Paul, Instagram (April 18, 2021) available at:
    https://www.instagram.com/p/CN0m1V9ho4M/?utm_source=ig_embed&ig_rid=d5b
 28 ed9cc-7bc4-43e4-89e4-da41dffd7a93

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  1 necessary to properly contextualize the critique.

  2        19.     On August 18, 2021 (i.e., the day after the Broadcast), TEI located a
  3 13:57 minute excerpt of the Broadcast on YouTube that contained the boxing match

  4 between Jake Paul and Ben Askren. Out of concern that the video would be taken

  5 down prior to the Podcast airing on April 22, 2021, TEI made copy and uploaded this

  6 13:57 minute excerpt as an unlisted video to the Zach the Sound Lad channel (the

  7 “Reference Video”).

  8        20.     TEI used the Zach the Sound Lad channel to store videos that were
  9 taken down (or likely to be taken down) for purposes of commentary and critique on
 10 the H3 Podcast Channel. Videos on the Zach the Sound Lad channel were unlisted –

 11 which means the videos could only be accessed by someone with the exact URL for

 12 the particular video. TEI does not set videos on the Zach the Sound Lad channel on

 13 private because other TEI employees are unable to access private videos through

 14 their YouTube accounts. TEI took this same approach with the Reference Video.

 15        21.     On April 22, 2022, TEI produced the Podcast – i.e., Jake Paul Fight
 16 Was A Disaster – H3 Podcast # 244 – and aired it on YouTube via the H3 Podcast

 17 Channel. During the Podcast, TEI critiqued: (1) the Broadcast in general, including

 18 its quality and decision to include mainstream musical acts in a fight between a

 19 YouTuber and a former wrestler and mixed martial arts fighter; (2) Ben Askren’s
 20 physical fitness to participate in the fight, including comparing his previous physical

 21 fitness with his current physical fitness and how this created a lopsided matchup in

 22 favor of Jake Paul; (3) Ben Askren’s ability to box; (4) how Jake Paul knocked out

 23 Ben Askren; (5) the fight between Jake Paul and Ben Askren, including its brevity

 24 and the referee’s decision to call the fight for Jake Paul; (6) whether Ben Askren

 25 “took a dive” to give Jake Paul the victory; (7) the reported views of the Broadcast;

 26 (8) the reported revenue from the Broadcast; and (9) Jake Paul’s financial take from

 27 the Broadcast.

 28        22.     During the Podcast, TEI used only 42 seconds of the Reference Video

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  1 (i.e., 5.9% of the Reference Video and .3% of the Broadcast) to facilitate TEI’s

  2 criticism of the Broadcast. The 42 seconds used by TEI was comprised of: (1) five

  3 seconds exclusively of audio; (2) nine seconds of both audio and video; and (3) 28

  4 seconds exclusively of video without any audio.

  5        23.     To show the excerpt of the Reference Video in the Podcast, a
  6 screenshot of Ethan’s web browser was shown on the Podcast. This included the

  7 URL for the Reference Video in the far upper right corner of the screen. The URL

  8 was so tiny as to render it illegible to the casual viewer. See Dkt. No. 36, ¶ 5.

  9        24.     TEI did not: (1) provide a hyperlink to the Reference Video in any
 10 manner; (2) instruct viewers to watch the Reference Video; (3) direct viewers’

 11 attention to the URL for the Reference Video; or (4) intend for anyone to view the

 12 Reference Video on its own. Rather, the only way to potentially discern the URL for

 13 the Reference Video and watch it would be to: (1) pause the Podcast when the URL

 14 was shown; (2) enlarge the Podcast to full screen mode on a large screen; (3) zoom

 15 in on the URL; (4) manually write down the URL for the Reference Video; and (5)

 16 manually type the URL for the Reference Video into the user’s internet browser.

 17     TRILLER’S INITIAL LAWSUIT FOR COPYRIGHT INFRINGEMENT
 18        25.     On April 23, 2021, Triller’s parent company, Triller, Inc. (which
 19 became Triller Platform Co. on June 27, 2022) sued various defendants for copyright
 20 infringement of the Broadcast in an action entitled Triller, Inc. v. Filmdaily.com

 21 (Case No. 2:21-cv-03502-PA-RAO) (the “Filmdaily Action”). TEI (nor anyone

 22 associated with TEI) was named in the initial complaint of the Filmdaily Action.

 23        26.     On August 29, 2021, Triller filed an amended complaint that: (1)
 24 changed the plaintiff from Triller, Inc. to Triller; and (2) included as defendants the

 25 “H3 Podcast” and “H3H3 Productions.” Neither the Podcast nor the Reference Video

 26 were identified in Triller’s amended complaint.

 27                          THE TRILLER PRESS RELEASE
 28        27.     On or around May 3, 2021, Triller’s head of piracy, Matt St. Claire,

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   1 sent a press release to various media outlets that advertised and promoted Triller’s

   2 so-called amnesty program for individuals who allegedly watched unauthorized

   3 streams of the Broadcast (the “Triller Press Release”). One of those media outlets

   4 that Triller sent the Triller Press Release to was the news agency, Reuters.

   5        28.     On May 3, 2021, Reuters published an article authored by Rory Carroll
   6 entitled “EXCLUSIVE Triller offers clemency to boxing fans who pirated Jake Paul

   7 bout if they pay up” (the “Reuters Article”). The Reuters Article was publicly

   8 accessible for free on Reuters’ website at:

   9 https://www.reuters.com/lifestyle/sports/exclusive-triller-offers-clemency-boxing-
  10 fans-who-pirated-jake-paul-bout-if-they-2021-05-03/. A true and correct copy of the

  11 Reuters Article is attached hereto and incorporated herein as Exhibit A.

  12        29.     The Reuters Article contained several quotes from the Triller Press
  13 Release or summarized statements made in the Triller Press Release. Examples

  14 include:

  15                a. The lede for the Reuters Article states: “Triller will not pursue legal
  16                   action against boxing fans who pirated the platform’s April 17 fight
  17                   between Jake Paul and Ben Askren provided those individuals pay
  18                   the original $49.99 price before June 1, a company executive told
  19                   Reuters.”
  20                b. The “company executive” referred to in the Reuters Article was
  21                   “Triller’s head of piracy Matt St. Claire.”
  22        30.     Several of these statements from the Triller Press Release were false
  23 and/or misleading. The false and/or misleading statements from the Triller Press

  24 Release incorporated into the Reuters Article include:

  25                a. “Triller filed legal action on April 23 in U.S. District Court of [the]
  26                   Central [District] of California against the owners of the
  27                   H3Podcast [sic] website for piracy of the event, and a dozen other
  28                   sites that restreamed and profited from as many as hundreds of

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   1                   thousands of users each, the company said” (emphasis added).
   2                b. “‘The fines are calculated at $150,000 per instance, so for H3 and
   3                   other sites who rebroadcast the event to many people, the
   4                   (potential) damages are large,’ St. Claire said” (emphasis added).
   5                c. “‘Triller will pursue the full $150,000 penalty per person per
   6                   instance for anyone who doesn’t do the right thing and pay before
   7                   the deadline,’ [St. Claire] added” (emphasis added).
   8                d. “‘In the case of the offending sites, it’s worse [than theft] because
   9                   they also then resold it to many people, illegally profiting from
  10                   work they do not own’” (emphasis added).
  11        31.     The aforementioned statements from the Triller Press Release gave the
  12 false and misleading impression of fact that: (1) the Podcast itself constituted

  13 copyright infringement; (2) anyone who viewed the Podcast was liable for copyright

  14 infringement; (3) that the potential exposure for each view of the Podcast was up to

  15 $150,000 per view; (4) that TEI runs a criminal enterprise; and (5) TEI resold the

  16 Broadcast and profited from doing so.

  17        32.     The aforementioned statements were false and misleading because:
  18                a. The Podcast did not infringe any copyright in the Broadcast and
  19                   any person purportedly knowledgeable of copyright (such as
  20                   Triller’s head of piracy, Mr. St. Claire) should have been able to
  21                   recognize this fact (see Dkt. No. 32);
  22                b. Statutory damages are not awarded per infringement. Rather, as any
  23                   person purportedly knowledgeable of copyright knows (such as
  24                   Triller’s head of piracy, Mr. St. Claire), statutory damages are
  25                   awarded per work infringed. Further, when the defendants are
  26                   jointly and severally liable for infringing a work (such as
  27                   downstream infringement), the plaintiff is entitled to only one
  28                   statutory damages award for all the various infringements of the

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   1                   work by the jointly and severally liable defendants. See 17 U.S.C. §
   2                   504(c)(1); Desire, LLC v. Manna Textiles, Inc., 986 F.3d 1253,
   3                   1261-72 (9th Cir. 2021). Rather, the only provision in the
   4                   Copyright Act that awards statutory damages per instance is 17
   5                   U.S.C. Section 1203(c)(3) and is limited to $200 to $2,500; and
   6                c. TEI did not resell the Broadcast whatsoever.
   7        33.     It is readily apparent from the Reuters Article that Triller issued the
   8 Triller Press Release to advertise and promote its so-called amnesty program to the

   9 public at large. This purpose is discernable: (1) because the Reuters Article contained
  10 the URL to Triller’s so-called amnesty program to encourage readers of the Reuters

  11 Article to participate and pay Triller the $49.99 settlement; (2) from the statements

  12 outlined above that seek to encourage readers of the Reuters Article who watched the

  13 Podcast to participate in the so-called amnesty program; and (3) additional

  14 statements from the Triller Press Release that are contained in the Reuters Article

  15 claiming Triller was able to identify all individuals who watched the Broadcast

  16 without authorization (including those who watched the Podcast).

  17        34.     Triller issued the Triller Press Release to media outlets because Triller
  18 knew that doing so would result in the wide dissemination of the Triller Press

  19 Release. Triller issued the Triller Press Release to Reuters (in particular) because
  20 Triller knew that Reuters articles are widely syndicated so that the Triller Press

  21 Release (including Triller’s promotion of the so-called amnesty program) would

  22 reach as broad an audience and garner as many participants as possible. Some

  23 examples of the Reuters Article’s syndication include:

  24                a. Yahoo! available at:
  25                   https://www.yahoo.com/entertainment/exclusive-triller-offers-
  26                   clemency-boxing-221259828.html;
  27                b. NASDAQ available at: https://www.nasdaq.com/articles/exclusive-
  28                   triller-offers-clemency-to-boxing-fans-who-pirated-jake-paul-bout-

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   1                    if-they-pay-up;
   2                 c. Metro available at: https://www.metro.us/exclusive-triller-offers-
   3                    clemency/;
   4                 d. KFGO available at: https://kfgo.com/2021/05/03/exclusive-triller-
   5                    offers-clemency-to-boxing-fans-who-pirated-jake-paul-bout-if-
   6                    they-pay-up/;
   7                 e. News 18 available at: https://www.news18.com/news/sports/triller-
   8                    offers-clemency-to-boxing-fans-who-pirated-jake-paul-bout-if-
   9                    they-pay-up-3705179.html
  10                 f. The Straits Times available at:
  11                    https://www.straitstimes.com/sport/boxing-triller-offers-clemency-
  12                    to-boxing-fans-who-pirated-jake-paul-bout-if-they-pay-up;
  13                 g. Inquirer available at: https://usa.inquirer.net/69772/triller-offers-
  14                    clemency-to-boxing-fans-who-pirated-jake-paul-if-they-pay-up;
  15                    and
  16                 h. The Independent available at:
  17                    https://www.independent.co.uk/sport/boxing/jake-paul-askren-
  18                    fight-triller-lawsuit-b1841669.html
  19        35.     The statements by Triller in the Triller Press Release deceived a
  20 substantial segment of the audience of the Triller Press Release (both the media

  21 outlets and their reports about the Triller Press Release). After the Triller Press

  22 Release was disseminated on May 3, 2021, countless online posts were made

  23 claiming that TEI engaged in criminal copyright infringement and would face

  24 criminal liability or crushing civil liability. Examples include:

  25                 a. A May 3, 2021 tweet by Daniel “Keemstar” Keem stating: “Wait so
  26                    if H3h3 broadcasted the @triller fight to 1 million people @ the
  27                    PPV was $50 does that mean Ethan caused Triller $50,000,000
  28                    dollars in damages ?” available at:

                                              12
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   1                  https://twitter.com/KEEMSTAR/status/1389363354238607364
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  21               b. A May 4, 2021 video by the YouTube channel DramaAlert that
  22                  contained excerpts of Triller’s press release and viewed over
  23                  1,000,000 times entitled H3H3 may go to ( PRISON ) for this!
  24                  available at:
  25                  https://youtu.be/ppg1ZsWUvww?si=Rjc6yQgNyFFWw7cL/
  26

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                   c. A May 4, 2021 video from the YouTube channel Bowblax that
  14
                      referenced Triller’s press release and was viewed over 125,00 times
  15
                      entitled: H3H3 Caught LYING (Triller Jake Paul Lawsuit)
  16
                      available at:
  17
                      https://youtu.be/5dvFIbamxms?si=w9Xh33bKaAMZ98hQ
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   1          36.     On information and belief, a substantial segment of individuals who
   2 read and saw the media reports discussing the Triller Press Release and watched the

   3 Podcast were deceived (or had a tendency to be deceived) into believing that they:

   4 (1) were liable for copyright infringement because they watched the Podcast; and (2)

   5 the only way to avoid liability was to participate in Triller’s so-called amnesty

   6 program.

   7          37.     The aforementioned false and misleading statements made by Triller in
   8 the Triller Press Release to media outlets were material in that they were directed at

   9 influencing individuals who read or heard about: (1) the Triller Press Release and
  10 watched the Podcast to participate in Triller’s so-called amnesty program; (2) the

  11 Triller Press Release to not watch the Podcast to avoid liability for copyright

  12 infringement; and/or (3) The Triller Press Release and avoid TEI content in general.

  13          38.     TEI suffered both financial and reputational damages as a result of the
  14 Triller Press Release. The H3 Podcast Channel was branded as an illegal (and even

  15 criminal) enterprise. As a result of the Triller Press Release, (1) the number of views

  16 for H3 Podcast episodes decreased; (2) the number of H3 Podcast Channel

  17 subscribers decreased; (3) the number of third-party sponsors for the H3 Podcast

  18 Channel and the amount the sponsors paid in sponsorships decreased dramatically;

  19 and (2) TEI content was stigmatized as being illegal and those associated with it
  20 were part of a criminal enterprise.

  21          39.     The Triller Press Release was also directly responsible for driving
  22 traffic to the Reference Video. As demonstrated by the screenshot below of the

  23 Reference Video’s analytics from YouTube, prior to May 3, 2021, the Reference

  24 Video only received a handful of views. On May 3, 2021, the views on the Reference

  25 Video spiked. Shortly after becoming aware of the Triller Press Release, TEI noticed

  26 the spike and private the Reference Video to prevent additional views.

  27 / / /

  28 / / /

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                             ADDITIONAL RELEVANT FACTS
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             40.     It is equally readily apparent that, when Triller issued the Triller Press
  12
       Release, it was referring to the Podcast and not the Reference Video. Such evidence
  13
       includes:
  14
                     a. The statement in the Reuters Article that TEI “restreamed and
  15
                        profited from as many as hundreds of thousands of users.” At the
  16
                        time the Triller Press Release was disseminated, the Podcast had
  17
                        received hundreds of thousands of views. Prior to the Triller Press
  18
                        Release being distributed, the Reference Video had only received a
  19
                        handful of views.
  20
                     b. The statement in the Triller Press Release referring to “the
  21
                        H3Podcast [sic] website” – which clearly refers to the H3 Podcast
  22
                        Channel. The Podcast was posted to the H3 Podcast Channel, while
  23
                        the Reference Video was not.
  24
                     c. The social media posts identified above show the Podcast (and not
  25
                        the Reference Video) and calculate liability based on the Podcast’s
  26
                        views (and not the Reference Video’s views).
  27
                     d. In the initial complaint filed in the present action on May 10, 2021
  28
                        (i.e., a week after the Triller Press Release was disseminated) (the
                                               16
            TED ENTERTAINMENT, INC’S COUNTERCOMPLAINT AGAINST TRILLER FIGHT CLUB II, LLC
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   1                   “Initial Complaint”), Triller alleged that TEI operated the Podcast
   2                   on the H3 Podcast Channel and the Podcast constituted copyright
   3                   infringement. In the Initial Complaint, Triller did not mention the
   4                   Reference Video or the Zach the Sound Lad channel. See Dkt. No.
   5                   1, ¶¶ 2-4.
   6                e. Triller further alleged in the Initial Complaint that TEI was liable
   7                   for “stealing and diverting upwards of 1,000,000 unique viewers”
   8                   of the Broadcast. Dkt. No. 1, ¶ 5. As mentioned, at the time the
   9                   Initial Complaint was filed, the Podcast had approximately one
  10                   million views, but the Reference Video had only 65 total views and
  11                   51 unique viewers.
  12        41.     Triller’s intent to deceive the public to participate in its so-called
  13 amnesty program is illustrated by its attempt to enlist TEI to make false and

  14 misleading statements about the so-called amnesty program as well. On May 14,

  15 2021, Triller’s lawyers, Novian & Novian LLP (who also represented Triller, Inc.

  16 and its majority and controlling owner at the time, Ryan Kavanaugh, through his

  17 entity Proxima Media), sent TEI a demand letter. The May 14, 2021 letter offered to

  18 settle the claims alleged in the Initial Complaint in exchange for: (1) $900,000; and

  19 (2) TEI making a public statement.
  20        42.     The public statement Triller demanded TEI to make was: “We are
  21 pleased to announce that we have reached a settlement with Triller Fight Club. As a

  22 result of us pirating the event, Triller surprisingly has embedded watermark

  23 technology unlike anything we’ve seen to date. We had to pay millions to settle in

  24 order to avoid $50 million or more in potential liability. We encourage anyone who

  25 pirated the event to take Triller’s amnesty offer very seriously and pay the $50

  26 before what happened to us happens to you. Triller is incredibly serious about this

  27 and we do believe they will find most if not all people who pirated.”

  28        43.     By this statement, Triller requested TEI to falsely represent: (1) that

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   1 TEI paid millions of dollars to settle the Initial Complaint – despite Triller

   2 demanding only $900,000; and (2) TEI was knowledgeable of Triller’s watermark

   3 technology – as no such information was shared with TEI. The clear purpose of this

   4 statement, just like Triller’s Press Release, was to advertise and promote Triller’s so-

   5 called amnesty program (in general) and to TEI’s audience (in particular).

   6                                    JURISDICTION
   7        44.     Pursuant to 28 U.S.C. Sections 1331 and 1338(a), this Court has
   8 subject matter jurisdiction over TEI’s counterclaim for false advertising that arises

   9 under 15 U.S.C. Section 1125.
  10                             FIRST CLAIM FOR RELIEF
  11                          (False Advertising 15 U.S.C. § 1125)
  12        45.     TEI incorporates by reference paragraphs 1 through 44 above as
  13 though fully set forth herein.

  14        46.     As set in greater detail above, Triller made false statements of fact in a
  15 commercial advertisement about the Podcast in the Triller Press Release.

  16        47.     As set forth in greater detail above, the Triller Press Release
  17 constituted a commercial advertisement because: (1) it contained statements about a

  18 competitor in the online entertainment industry; (2) Triller’s Press Release was made

  19 for the purpose of influencing consumers to pay Triller $49.99 to participate in its so-
  20 called amnesty program service; and (3) the contents of the Triller Press Release

  21 were widely disseminated to the relevant purchasing public (i.e., viewers of the

  22 Podcast and individuals who watched the Broadcast without authorization) through

  23 the Reuters Article, the Reuters Article’s syndication and other media outlets.

  24        48.     As set forth in greater detail above, the Triller Press Release contained
  25 false and/or misleading statements of fact about the Podcast by claiming: (1) it

  26 constituted copyright infringement; and (2) anyone who watched the Podcast was

  27 liable for copyright infringement and liable for up to $150,000 for each view of the

  28 Podcast.

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   1        49.     As set forth in greater detail above, the Triller Press Release actually
   2 deceived or tended to deceive a substantial segment of the audience for the Triller

   3 Press Release to: (1) participate in Triller’s so-called amnesty program; and (2) avoid

   4 watching the Podcast and TEI content, including the Podcast.

   5        50.     As set forth in greater detail above, the statements identified above
   6 from the Triller Press Release were material to the public’s decision to: (1)

   7 participate in Triller’s so-called amnesty program; and (2) avoid watching the

   8 Podcast and other TEI content.

   9        51.     As set forth in greater detail above, the Triller Press Release entered
  10 into interstate commerce when portions of it were quoted or summarized in the

  11 Reuters Article – which was publicly available for free on Reuters’ website

  12 (including websites that syndicated the Reuters Article) and other media outlets that

  13 were publicly accessible for free.

  14        52.     As set forth in greater detail above, Triller’s false and/or misleading
  15 statements about the Podcast and TEI in the Triller Press Release have damaged TEI

  16 financially and have damaged TEI’s reputation.

  17                                PRAYER FOR RELIEF
  18         WHEREFORE, TEI prays for judgment against Triller as follows
  19        53.     Disgorgement of Triller’s profits, in accordance with proof;
  20        54.     TEI’s actual damages to both its reputation and monetary damages
  21 from lost viewers and subscribers, in accordance with proof;

  22        55.     An award of treble damages pursuant to 15 U.S.C. Section 1117(a);
  23        56.     A determination that this case is an exceptional case pursuant to 15
  24 U.S.C. Section 1117(a) and award TEI its reasonable attorneys’ fees;

  25        57.     An award of TEI’s costs;
  26        58.     Pre-judgment and post-judgment interest on all damages awarded to
  27 the maximum extent authorized by law; and

  28        59.     For such other and further relief as the Court may deem just and

                                              19
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   1 proper.

   2                               JURY TRIAL DEMAND
   3        TEI demands a jury trial on all issues so triable pursuant to Federal Rule of
   4   Civil Procedure 38 and the 7th Amendment to the United State Constitution.
   5        Dated: January 23, 2024                  HEAH BAR-NISSIM LLP
   6

   7
                                                By
   8                                                 ROM BAR-NISSIM
                                                     Attorneys for Countercomplainant
   9                                                 Ted Entertainment, Inc.
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         EXHIBIT A
          Case
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       Sports

       EXCLUSIVE Triller offers clemency to boxing fans who pirated Jake Paul bout if they pay up
       By Rory Carroll
       May 3, 2021 3:16 PM PDT · Updated 3 years ago




                                                                                                                                                                   Feedback




       [1/3] Apr 24, 2021; Jacksonville, Florida, USA; YouTube star Jake Paul looks on before Anthony Smith (Red Gloves) fights Jimmy Crute (Blue
       Gloves) during UFC 261 at VyStar Veterans Memorial Arena.... Acquire Licensing Rights       Read more



       LOS ANGELES, May 3 (Reuters) - Triller will not pursue legal action against boxing fans who pirated the platform's April 17 fight between Jake Paul and
       Ben Askren provided those individuals pay the original $49.99 price before June 1, a company executive told Reuters.

       More than 2 million illegal streams of the Triller Fight Club bout occurred, the company said, and it will be pursuing those individuals for the maximum
       penalty of $150,000 per illegal stream of the fight.


       "VPNs all have to comply and turn over the actual IP addresses of each person who stole the fight in discovery," Triller's head of piracy Matt St. Claire
       said.

       "We will be able to identify each and every person, VPN or not, as each stream has a unique fingerprint embedded in the content," he said.



https://www.reuters.com/lifestyle/sports/exclusive-triller-offers-clemency-boxing-fans-who-pirated-jake-paul-bout-if-they-2021-05-03/                              1/10
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1/23/24, 2:38 PM 2:21-cv-03942-JAK-KS     Document
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                                                                                                                  up | Reuters
       "Triller will pursue the full $150,000 penalty per person per instance for anyone who doesn't do the right thing and pay before the deadline," he added.


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       Paul, a YouTube star who has made a name for himself in the boxing world, knocked out retired mixed martial arts (MMA) fighter Askren in the first
       round.

       Triller has set up a website for those who want to pay the amount before the deadline - https://www.fite.tv/page/041721piracysettlement/

       Triller filed legal action on April 23 in U.S. District Court of Central California against the owners of the H3Podcast website for piracy of the event, and a
       dozen other sites that restreamed and profited from as many as hundreds of thousands of users each, the company said.


                                                                        Advertisement · Scroll to continue




       H3Podcast did not immediately respond to a request for comment.

       "The fines are calculated at $150,000 per instance, so for H3 and other sites who rebroadcast the event to many people, the (potential) damages are
       large," St. Claire said.

       "We are taking this position because it is outright theft. It is no different than walking into a store and stealing a video game off the shelf," he said.

       "In the case of the offending sites, it's worse because they also then resold it to many people, illegally profiting from work they do not own."                 Feedback




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https://www.reuters.com/lifestyle/sports/exclusive-triller-offers-clemency-boxing-fans-who-pirated-jake-paul-bout-if-they-2021-05-03/                                   2/10
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                                                                                                         they pay       ID #:769
                                                                                                                  up | Reuters
       Triller Fight Club's next event will pit Teofimo Lopez against George Kambosos, Jr. on June 5.

       Reporting by Rory Carroll in Los Angeles; Editing by Bill Berkrot


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                       Rory Carroll
                       Thomson Reuters

         Los Angeles-based sports reporter who interviews the most impactful athletes and executives in the world.
         Covers breaking news ranging from the highs of championship victories to the lows of abuse scandals. My
         work highlights the ways in which sports and the issues of race, gender, culture, finance, and technology
         intersect.




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